              Case 3:17-cv-00237 Document 95 Filed in TXSD on 11/06/18 Page 1 of 4
                                                              	

                                             MCCARTY	&	RABURN	
                                            A	CONSUMER	LAW	FIRM	PLLC	
                                                              	
                                                                    	                                                                       	
                                                                                                                     LICENSED	IN	MISSISSIPPI	
	                                                                           U.S.	DISTRICT	COURTS,	NORTHERN,	SOUTHERN,	WESTERN,	EASTERN		
DENNIS	D.	MCCARTY	                                                                                                        DIVISION	OF	TEXAS	
                                                                         U.S.	DISTRICT	COURTS,	NORTHERN,	SOUTHERN	DIVISION	OF	MISSISSIPPI	
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      November 6, 2018

      Susan Gram
      Case Manager to Judge George C. Hanks, Jr.
      United States Courthouse
      601 Rosenberg, Room 411
      Galveston, TX 77550
      galveston_cm@txs.uscourts.gov


                RE:     Clements, et al v. Trans Union, et al ; Cause No. 3 :17-cv-237

      Dear Ms. Gram:

             Plaintiffs request a phone conference be scheduled with the Honorable District Court
      Judge Hanks at his earliest convenience regarding a discovery dispute between Experian, Trans
      Union and TXU.

              Plaintiffs, individually and for the purported class, filed a federal class action complaint
      against Experian, Trans Union and TXU for violating the Fair Credit Reporting Act(FCRA).
      Specifically, Plaintiffs and purported class allege that Defendants Trans Union and Experian
      violated 15 U.S.C. § 1681c(a)(4) by reporting a derogatory account for longer than the FCRA
      allows. In addition, Plaintiffs and purported class allege that Defendant Experian and Trans
      Union violated 15 U.S.C. § 1681e(a) by failing to maintain reasonable procedures designed to
      avoid violations of 1681(c), reporting old derogatory accounts. Plaintiffs and the purported class
      allege that Defendants Experian and Trans Union violated 15 U.S.C. § 1681e(b) by failing to
      follow reasonable procedures to assure maximum possible accuracy of the information
      concerning the individual about whom the report relates. Plaintiffs and the purported class allege
      that Defendant TXU violated 15 U.S.C. §1681s-2(b) by failing to conduct a reasonable
      investigation into Plaintiffs’ disputes. Plaintiffs and the purported class allege that TXU,

                                 3000	CUSTER	ROAD,	SUITE	270	#	1501|	PLANO,	TX	75075	
          National	Toll	Free:	(877)	994-3289;			Baton	Rouge:	(225)	412-2777;	Dallas:	(214)	296-9240;		Miami:	(305)	
                 507-9200;		Atlanta:	(678)	935-7424;		Philadelphia:	(610)	968-1133	Tyler:	(214)	296-9240	
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Experian and Trans Union violated sections of the FCRA willfully and/or negligently pursuant
to15 U.S.C. §1681n and §1681o.

        Plaintiffs have received the number that they intend to use to certify a class against
Experian. Plaintiffs were informed by Trans Union that they will provide the number that
Plaintiffs intend to use to certify a class against Trans Union, but that number has not been
provided yet.

        Plaintiffs allege that TXU has provided Trans Union and Experian the date that each
Plaintiff made their last payment to TXU, as evidenced by Trans Union reporting the last
payment date on each of their credit reports/credit disclosures. Each of the Plaintiffs’ last
payment dates to TXU far exceeds the maximum of seven and one half years allowed for
Experian and Trans Union to report the derogatory accounts. Plaintiffs’ position is that the first
date of delinquency is the first month that the Plaintiffs missed their last payment, hence the
term, first date of delinquency. The first date of delinquency, which is when the time the clock is
supposed to start when reporting derogatory accounts, would be the first month after their last
payment date. Experian and Trans Union’s position is that TXU is providing a first date of
delinquency years after the last payment was made to TXU, which is impossible. TXU sent, and
Experian and Trans Union are reporting old and obsolete TXU accounts with last payment dates
in various months in 2009, and their accounts are still reporting, nine years later. Because TXU
is providing first delinquencies dates that are, in most cases, several years off from when the
Plaintiffs made their last payments, the only true and clear way of calculating the first date of
delinquency is to use the first/next month after the last payment date.

        Plaintiffs’ have alleged on their behalf and that of the class that they properly disputed
the TXU accounts pursuant to the FCRA and that TXU did not conduct a reasonable
investigation, delete or block the accounts from reporting. Instead, TXU instructed Trans Union
and Experian to continue reporting the accounts, which they did, violating 15 U.S.C. §1681s-
2(b). The only way to accurately determine the class size against TXU is to determine the
number of consumers that disputed their accounts and the TXU instructed Experian and Trans
Union to continue to report, out of the number that Experian has already provided to Plaintiffs
and the number that Trans Union has stated that they soon will. TXU has informed Plaintiffs
that they do not keep or maintain the documents that would provide that information. When a
consumer disputes a TXU account with Trans Union and Experian, Trans Union and Experian
sends an ACDV to TXU informing and notifying them of the dispute. TXU then sends the
ACDV back to Trans Union and Experian with instructions on how to report, change, modify,
edit or delete the account. The ACDVs contain the information needed to determine the number
and size of a class against TXU. TXU has stated that they do not keep or maintain the ACDVs
after 120 days from when the consumer disputes the account. However, Trans Union and
Experian do keep and maintain their copies of the ACDVs and can provide Plaintiffs with the
number needed to certify a class against TXU. Experian and Trans Union can determine how
may consumers disputed their TXU accounts and continued to report them, at the instruction of
TXU.
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        507-9200;		Atlanta:	(678)	935-7424;		Philadelphia:	(610)	968-1133	Tyler:	(214)	296-9240	
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       Plaintiffs respectfully request this Honorable Court to compel TXU, Experian and Trans
Union to work together and provide the information needed to certify a class against TXU.


Dated: November 6, 2018


       Respectfully Submitted,


                               /s/Dennis McCarty
                             Dennis McCarty
                             McCarty & Raburn, A Consumer Law Firm, PLLC
                             Mississippi Bar No. 102733
                             Supreme Court of the United States Bar No. 302174
                             Federal Bar No. 993800
                             P.O. Box 1448
                             Cedar Hill, TX 75106-1448
                             Telephone: 817-704-3375
                             Fax (817) 887-5069


                                  CERTIFICATE OF CONFERENCE

       I hereby certify that I have conferred with the Defendants’ Counsel. Counsel for
Experian and Trans Union have stated that they will not provide the information requested
voluntarily. TXU has stated that they do not keep or maintain the documents that would provide
them with the information required to certify a class, requiring the information to be obtained
from Experian and Trans Union.

Dated: November 6, 2018


                                      Respectfully submitted,

                                      /s/ Dennis McCarty_____________
                                       Dennis McCarty
                                       ATTORNEY FOR PLAINTIFF




                              	                                   	
                                                                                                  	
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                                  CERTIFICATE OF SERVICE
I hereby certify that on the 6th day of November, 2018, I electronically filed the foregoing with
the Clerk of Court using the CM/ECF system which will send notification of such filing to the
attorneys on record:

Defendants have not appeared in this case as of the date of this filing.


Date Signed this the 6th day of November, 2018


                                          /s/ Dennis McCarty
                                          DENNIS MCCARTY
                                          MS Bar# 102733
                                          Attorney for Plaintiff




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